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                 EXHIBIT A
  Case: 1:16-cv-06446 Document #: 42-1 Filed: 08/04/16 Page 2 of 9 PageID #:186




                        IN THE UNITED ST ATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

J1MMY R. NICKS and JAMES EARL                 )
PATRICK, individually and on behalf           )
of all persons similarly situated,            )
                                              )
                       Plaintiffs,            )         No. 16 CV 6446
      V.                                      )
                                              )         Assigned Judge:
KOCH MEAT CO, INC. d/b/a KOCH                 )         Amy St. Eve
FOODS, KOCH FOODS OF                          )
MISSISSIPPI, LLC, and JET POULTRY             )         Magistrate Judge:
SERVICES, INC.,                               )         Michael T. Mason
                                              )
                                              )




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       5.         The Slaughter Plant processes live broiler chickens and packages them for

shipment to Koch Foods of Mississippi, LLC's customers or for delivery to other plants for

additional processing.

       6.         All of Koch Mississippi's processing activities take place in Morton and Forest,

Mississippi.

       7.         Koch Mississippi does not conduct poultry processing activities outside the State

of Mississippi.

       8.         Koch Mississippi does not own or operate any plants outside Mississippi.

       The facts set forth in this Declaration are based on my personal knowledge, and I declare

under penalty of perjury under the laws of the United States of America that the foregoing is true

and correct.

       Dated: August 3, 2016.




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                  EXHIBIT B
  Case: 1:16-cv-06446 Document #: 42-1 Filed: 08/04/16 Page 5 of 9 PageID #:189




                          IN THE UNITED ST ATES DISTRICT COURT
                         FOR     NORTHERN               ILLINOIS
                                             DIVISION

JIMMY R. NICKS and JAMES EARL                       )
PA TRICK, individually and on behalf                )
of all persons similarly situated,                  )
                                                    )
                         Plaintiffs,                )       No. 16 CV 6446
       V.                                           )
                                                    )       Assigned Judge:
KOCH MEAT CO, INC. d/b/a KOCH                       )       Amy St. Eve
FOODS, KOCH FOODS OF                                )
MISSISSIPPI, LLC, and JET POULTRY                   )       Magistrate Judge:
SERVICES, INC.,                                     )       Michael T. Mason
                                                    )
                         Defendants.                )




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customers or       delivery to                for
  Case: 1:16-cv-06446 Document #: 42-1 Filed: 08/04/16 Page 6 of 9 PageID #:190




       5.      As Live Production Manager, I oversee the production of live broiler chickens

before they are delivered to the Slaughter Plant for processing.            operations are commonly

referred to as "grow-out" operations. The grow-out operations include the placement of broiler

chicks with third party independent contractor growers who raise the broiler chicks in

Mississippi until they are of sufficient maturity for processing, and the delivery of mature broiler

chickens from growers to the Slaughter Plant for processing.

       6.      All growers who raise chickens supplied to the Slaughter Plant are located within

approximately 60 miles of Morton, Mississippi in the counties of Scott, Rankin, Smith, Newton,

Jasper, Leake, Neshoba, Simpson, or Covington.

       7.      JET Poultry, lnc. ("           provides catching services for the broiler

supplied to the Slaughter Plant. As part of those services, Jet catches broiler chickens on the

growers' farms and           them               that are loaded onto poultry transport vehicles for

delivery to the Slaughter Plant.

       8.      All of Jet's live-haul            related to chickens supplied to the Slaughter Plant

for processing take place in Mississippi.

       9.      The           records related to the grow-out operations for the Slaughter Plant are

located in Mississippi.

       The facts set forth in this Declaration are based on my personal knowledge, and I declare

under penalty of perjury under the          of the United States of America that the foregoing is true

and correct.

       Dated: August 3, 2016.




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                 EXHIBIT C
 Case: 1:16-cv-06446 Document #: 42-1 Filed: 08/04/16 Page 8 of 9 PageID #:192




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JIMMY R. NICKS and JAMES EARL                   )
PATRICK, individually and on behalf             )
of all persons similarly situated,              )
                                                )
                        Plaintiffs,             )      No. 16 CV 6446
        v.                                      )
                                                )      Assigned Judge:
KOCH MEAT CO, INC. dlb/a KOCH                  )       Amy St. Eve
FOODS, KOCH FOODS OF                           )
MISSISSIPPI, LLC, and JET POULTRY              )       Magistrate Judge:
SERVICES, INC.,                                )       Michael T. Mason
                                               )
                        Defendants.            )

                            DECLARA TTON OF LANCE BUCKERT


STATE OF ILLINOIS

COUNTY OF COOK

        1.      My name is Lance Buckert. I am over 21 years of age, and I am competent to

testify concerning the matters in this Declaration.

       2.       I am the Chief Financial Officer of Koch Foods Incorporated. In that capacity, I

have personal knowledge of the assets and operations of subsidiaries of Koch Foods

Incorporated.

       3.       Koch Foods Incorporated is the sole member of Koch Foods of Mississippi, LLC

("Koch Mississippi") and is the sole stockholder of Koch Meat Co., Inc. ("Koch Meat").

       4.       Koch Mississippi docs not employ anyone in Illinois.

       5.       Koch Mississippi is not registered to do business in Illinois.

       6.       Koch Mississippi does not have an office in Illinois.

       7.       Koch Mississippi does not own any real property in Illinois.
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        8.      Koch Mississippi does not pay income or property taxes to the State of Illinois.

        9.      Koch Mississippi does not have any Illinois telephone listing or phone number.

        10.     Koch Meat does not own any live chickens or engage in any live haul operations.

        11.     Koch Meat does not own any facilities that process any live chickens.

        12.     Koch Meat does not have any business records relating to any services provided

by either Jet Poultry Services, Inc. or Jet Poultry, Inc.

        The facts set forth in this Declaration are based on my personal knowledge, and I declare

under penalty of perjury under the laws of the United States of America that the foregoing is true

and correct.

       Dated: August 3, 2016.



                                                       LANCE BUCKERT




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